Case: 3:16-cv-50310 Document #: 254-9 Filed: 09/15/23 Page 1 of 5 PageID #:3619




             EXHIBIT 26
Accessed: Aug. 30, 2023 9:52 PM CST
                 Case: 3:16-cv-50310 Document #: 254-9 Filed: 09/15/23 Page 2 of 5 PageID #:3620

Abortion Statistics
Induced Pregnancy Terminations in Illinois by Year

    Export To CSV


    YE A R                                   TOTA L A B O RTIO N S                                                        


    2021                                        51797


    2020                                        46243


    2019                                        46517


    2018                                        42441


    2017                                        39329


    2016                                        38382


    2015                                        39856



Showing 1 to 7 of 7 entries

Previous
1
Next




Induced Pregnancy Terminations by Residence, by Year

    Export To CSV


    YE A R            IL L IN O IS RE SID E N TS                   O U T- O F - STATE RE SID E N TS       U N KN O WN   


    2021                40073                                          11307                                  417


    2020                36174                                          9686                                   383


    2019                38756                                          7534                                   227
                                                                                                            NIFLA 01568
https://dph.illinois.gov/data-statistics/vital-statistics/abortion-statistics.html
Accessed:
  YE A R Aug.30, 2023  9:52OPM
                   IL L IN   IS CST
                                RE SID E N TS                       O U T- O F - STATE RE SID E N TS        U N KN O WN   
                 Case: 3:16-cv-50310 Document #: 254-9 Filed: 09/15/23 Page 3 of 5 PageID #:3621

    2018                  36713                                         5668                                  60


    2017                  32832                                         5528                                  969


    2016                  32663                                         4543                                  1176


    2015                  34498                                         3210                                  2148



Showing 1 to 7 of 7 entries

Previous
1
Next


Induced Pregnancy Terminations by Age Group, by Year

    Export To CSV


    YE A R                  < 18              18 - 29                   30 - 39         40 +       U N KN O WN         


    2021                      1297               33606                      15032            1591       271


    2020                      1180               30048                      13363            1438       214


    2019                      1343               30203                      13273            1499       199


    2018                      1261               27600                      12086            1352       142


    2017                      1224               25826                      10791            1377       111


    2016                      1287               24906                      10770            1295       124


    2015                      1447               25993                      10973            1297       146



Showing 1 to 7 of 7 entries

Previous
1
Next


                                                                                                            NIFLA 01569
https://dph.illinois.gov/data-statistics/vital-statistics/abortion-statistics.html
Induced
Accessed: Aug.Pregnancy        Terminations
              30, 2023 9:52 PM CST
              Case: 3:16-cv-50310           by254-9
                                   Document #:  Gestational     AgePage
                                                    Filed: 09/15/23  (weeks),   by Year
                                                                        4 of 5 PageID #:3622

    Export To CSV


    YE A R                  < 8             8 - 11                 12 - 15              16 +      U N KN O WN      


    2021                      29241             14989                   3811                2192       1564


    2020                      26755             12899                   3585                1789       1215


    2019                      23292             15293                   4460                2416       1056


    2018                      20388             14221                   4284                2413       1135


    2017                      18906             12057                   3927                1793       2646


    2016                      18486             11034                   3488                1745       3629


    2015                      18925             12697                   3658                1812       2764



Showing 1 to 7 of 7 entries

Previous
1
Next




Induced Pregnancy Terminations by Procedure Involved, by Year

    Export To CSV


    YE A R               M E D IC ATIO N                              P RO C E D U RA L              U N KN O WN     


    2021                   27344                                          23525                         1010


    2020                   23765                                          22198                         356


    2019                   19942                                          26413                         261


    2018                   16613                                          25406                         687


    2017                   13303                                          24456                         1889
                                                                                                          NIFLA 01570
https://dph.illinois.gov/data-statistics/vital-statistics/abortion-statistics.html
Accessed:
  YE A R Aug. 30,
               2023
                  M9:52   PMATIO
                     E D IC  CST N                                     P RO C E D U RA L      U N KN O WN     
                 Case: 3:16-cv-50310 Document #: 254-9 Filed: 09/15/23 Page 5 of 5 PageID #:3623

    2016                   10940                                          25228                 2299


    2015                   9514                                           28074                 2260



Showing 1 to 7 of 7 entries

Previous
1
Next


Resources
       Archived Abortion Statistics Reports

       Abortion Statistics Archive




                                                                                                  NIFLA 01571
https://dph.illinois.gov/data-statistics/vital-statistics/abortion-statistics.html
